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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK; STATE OF
  CALIFORNIA; STATE OF ILLINOIS; STATE OF
  RHODE ISLAND; STATE OF NEW JERSEY;
  COMMONWEALTH OF MASSACHUSETTS;
  STATE OF ARIZONA; STATE OF COLORADO;
  STATE OF CONNECTICUT; STATE OF                 C.A. No. 25-cv-39
  DELAWARE; THE DISTRICT OF COLUMBIA;
  STATE OF HAWAI’I; STATE OF MAINE; STATE
  OF MARYLAND; STATE OF MICHIGAN; STATE
  OF MINNESOTA; STATE OF NEVADA; STATE
  OF NORTH CAROLINA; STATE OF NEW
  MEXICO; STATE OF OREGON; STATE OF
  VERMONT STATE OF WASHINGTON; STATE
  OF WISCONSIN,

               Plaintiffs,

         v.

  DONALD TRUMP, IN HIS OFFICIAL CAPACITY
  AS PRESIDENT OF THE UNITED STATES; U.S.
  OFFICE OF MANAGEMENT AND BUDGET;
  MATTHEW J. VAETH, IN HIS OFFICIAL
  CAPACITY AS ACTING DIRECTOR OF THE
  U.S. OFFICE OF MANAGEMENT AND
  BUDGET; U.S. DEPARTMENT OF THE
  TREASURY; SCOTT BESSENT, IN HIS
  OFFICIAL CAPACITY AS SECRETARY OF THE
  TREASURY; PATRICIA COLLINS IN HER
  OFFICIAL CAPACITY AS TREASURER OF THE
  U.S.; U.S. DEPARTMENT OF HEALTH AND
  HUMAN SERVICES; DOROTHY A. FINK, M.D.,
  IN HER OFFICIAL CAPACITY AS ACTING
  SECRETARY OF HEALTH AND HUMAN
  SERVICES; U.S. DEPARTMENT OF
  EDUCATION; DENISE CARTER, IN HER
  OFFICIAL CAPACITY AS ACTING SECRETARY
  OF EDUCATION; U.S. FEDERAL EMERGENCY
  MANAGEMENT AGENCY; CAMERON
  HAMILTON, IN HIS OFFICIAL CAPACITY AS
  ACTING ADMINISTRATOR OF THE U.S.
  FEDERAL EMERGENCY MANAGEMENT


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  AGENCY; U.S. DEPARTMENT OF
  TRANSPORTATION;
  JUDITH KALETA, IN HER OFFICIAL
  CAPACITY AS ACTING SECRETARY OF
  TRANSPORTATION;
  U.S. DEPARTMENT OF LABOR; VINCE
  MICONE, IN HIS OFFICIAL CAPACITY AS
  ACTING SECRETARY OF LABOR; U.S.
  DEPARTMENT OF ENERGY; INGRID KOLB, IN
  HER OFFICIAL CAPACITY AS ACTING
  SECRETARY OF THE U.S. DEPARTMENT OF
  ENERGY; U.S. ENVIRONMENTAL
  PROTECTION AGENCY; JAMES PAYNE, IN HIS
  OFFICIAL CAPACITY AS ACTING
  ADMINISTRATOR OF THE U.S.
  ENVIRONMENTAL PROTECTION AGENCY;
  U.S. DEPARTMENT OF HOMELAND
  SECURITY; KRISTI NOEM, IN HER CAPACITY
  AS SECRETARY OF THE U.S. DEPARTMENT
  OF HOMELAND SECURITY; U.S.
  DEPARTMENT OF JUSTICE; JAMES R.
  McHENRY III, IN HIS OFFICIAL CAPACITY AS
  ACTING ATTORNEY GENERAL OF THE U.S.
  DEPARTMENT OF JUSTICE; THE NATIONAL
  SCIENCE FOUNDATION and DR.
  SETHURAMAN PANCHANATHAN, IN HIS
  CAPACITY AS DIRECTOR OF THE NATIONAL
  SCIENCE FOUNDATION,

                 Defendants.



                         AFFIRMATION OF KEITH D. HOFFMANN


        KEITH D. HOFFMANN, an attorney duly admitted to practice before the Courts of this

 State, does hereby state the following under penalty of perjury pursuant to 28 U.S.C. § 1746:

        1.      I am Keith D. Hoffmann, Chief of Policy and Assistant Attorney General in the

 Office of the Attorney General for the State of Rhode Island, who appears on behalf of the State

 of Rhode Island in this action.



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        2.      I submit this declaration in support of Plaintiffs States’ Motion for a Temporary

 Restraining Order pursuant to Federal Rule of Civil Procedure 65. The facts set forth herein are

 based upon my personal knowledge and/or a review of the files in my possession.

        3.      I have attached hereto this affirmation true and correct copies of factual

 declarations, as noted herein:

        4.      Declaration dated January 28, 2025 of Kori Kappes, Chief Financial Officer of the

 Department of Economic Security (“DES”) for the State of Arizona;

        5.      Declaration dated January 28, 2025 of John F. Scott II, Director of the Arizona

 Department of Veterans’ Services;

        6.      Declaration dated January 28, 2025 of Jeff Tegen, Assistant Director of the

 Division of Business and Finance at the Arizona Health Care Cost Containment System

 Administration;

        7.      Declaration dated January 28, 2025 of Nicole Witt, Assistant Director of Public

 Health Preparedness for the Arizona Department of Health Services;

        8.      Declaration dated January 28, 2025 of Susan Dzbanko, Deputy Director of the

 Arizona Department of Homeland Security;

        9.      Declaration dated January 28, 2025 of Nancy Farias Womack, Director of the

 California Employment Development Department;

        10.     Declaration dated January 28, 2025, of Kim Bimestefer, Executive Director for

 Colorado’s Department of Health Care Policy & Financing;

        11.     Declaration dated January 28, 2025 of Stan Hilkey, Executive Director at

 Colorado’s Department of Public Safety;

        12.     Declaration dated January 28, 2025 of Michelle Barnes, Executive Director of



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 Colorado’s Department of Human Services;

        13.    Declaration dated January 28, 2025 of Maria De Cambra, Executive Director of the

 Colorado Department of Local Affairs;

        14.    Declaration dated January 28, 2025 of Mike Ferrandino, Director of the Office of

 State Planning and Budgeting for the State of Colorado;

        15.    Declaration dated January 28, 2025 of Jeffrey Beckham, Secretary of the

 Connecticut Office of Policy and Management;

        16.    Declaration dated January 28, 2025 of Colleen C. Davis, State Treasurer of

 Delaware;

        17.    Declaration dated January 28, 2025 of Krishnanda Tallur, Deputy State

 Superintendent of the Office of Finance and Operations in the Maryland State Department of

 Education;

        18.    Declaration dated January 28, 2025 of Matthew J. Gorkowicz, Secretary of

 Administration and Finance for the Commonwealth of Massachusetts;

        19.    Declaration dated January 28, 2025 of Michael F. Rice, PhD, Superintendent of

 Public Instruction within the Michigan Department of Education;

        20.    Declaration dated January 28, 2025 of Elizabeth Hertel, Director the Michigan

 Department of Health and Human Services;

        21.    Declaration dated January 28, 2025 of Beverly Walker-Griffea, Ph.D., Director of

 the Michigan Department of Lifelong Education, Advancement and Potential;

        22.    Declaration dated January 28, 2025 of Ahna Minge, Assistant Commissioner for

 Budget Services and State Budget Director at Minnesota Management and Budget;

        23.    Declaration dated January 28, 2025 of Adrienne Kreipke, Chief Financial and



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 Operations Officer for the Department of Environmental Protection (“NJDEP”) located in the State

 of New Jersey;

        24.       Declaration dated January 28, 2025 of Ed Wengryn, Secretary of Agriculture at the

 New Jersey Department of Agriculture;

        25.       Declaration dated January 28, 2025 of Sarah Adelman, Commissioner of the New

 Jersey Department of Human Services;

        26.       Declaration dated January 28, 2025 of Kaitlin Baston, MD, MSc, DFASAM,

 Commissioner of the New Jersey Department of Health;

        27.       Declaration dated January 28, 2025 of Kathleen Ehling, Assistant Commissioner

 for the Division of Educational Services within the New Jersey Department of Education;

        28.       Declaration dated January 28, 2025 of Kari Armijo, Cabinet Secretary for the New

 Mexico Health Care Authority;

        29.       Declaration dated January 28, 2025 of Wayne Propst, Cabinet Secretary for the

 New Mexico Department of Finance and Administration;

        30.       Declaration dated January 28, 2025 of Blake Washington, Director of the New

 York State Division of the Budget;

        31.       Declaration dated January 28, 2025 of Jonathan Womer, Director of the Rhode

 Island Department of Administration;

        32.       Declaration dated January 28, 2025 of Katharine K.D. Chapman-See, Director of

 the Office of Financial Management for the State of Washington;

        33.       Declaration dated January 28, 2025 of Elizabeth Maher Muoio, State Treasurer of

 the State of New Jersey;

        34.       Declaration dated January 28, 2025 of Robert Asaro-Angelo, Commissioner at the



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 Department of Labor and Workforce Development (NJDOL) located in the State of New Jersey.



 Dated: Providence, Rhode Island
        January 29, 2025

                                                 /s/ Keith D. Hoffmann
                                                     Keith D. Hoffmann
                                                 Assistant Attorney General




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                        DECLARATION OF ROBERT ASARO-ANGELO
         I, Robert Asaro-Angelo, pursuant to 28 U.S.C. § 1746, hereby declare that the following

 is true and correct:

 1. I am the Commissioner at the Department of Labor and Workforce Development (NJDOL)

     located in the State of New Jersey. My educational background includes BS,

     Communications, Boston University and Master’s in Public Policy, Rutgers University. I

     have been employed as Commissioner since January 16, 2018.

 2. I submit this Declaration to explain certain impacts on the State of New Jersey resulting from

     the directive given to all Federal agencies in the Office of Management and Budget’s January

     27, 2025 memo to “temporarily pause all activities related to obligation or disbursement of

     all Federal financial assistance, and other relevant agency activities that may be implicated

     by [certain] executive orders” (“OMB Memo”). I have compiled the information in the

     statements set forth below through NJDOL Finance and Accounting personnel who have

     assisted me in gathering this information. These statements are also made on the basis of

     documents and emails that have been provided to and/or reviewed by me from multiple

     offices within the United States Department of Labor. I have also familiarized myself with

     the OMB Memo in order to understand its immediate impact on the New Jersey Department

     of Labor and Workforce Development.

 3. The mission of NJDOL is to protect New Jersey's workforce, strengthen its businesses, and

     promote the dignity of work. NJDOL oversees New Jersey's three wage-protection programs

     (Unemployment, Temporary Disability, and Family Leave Insurance), which provide cash

     benefits to workers who lose their jobs through no fault of their own, or are unable to work

     because they are sick or injured, caring for a family member, or bonding with a new child.
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    The NJDOL also oversees the Division of Disability Determination Services program, which

    helps individuals who are disabled and are unable to work apply for cash benefits through the

    federal Social Security Program; oversees and operates the Division of Workforce

    Development, which is responsible for New Jersey's workforce services, including vocational

    rehabilitation services, veteran's services, and more; and oversees the Division of Employer

    Accounts, which helps employers throughout New Jersey maintain compliance with

    Unemployment and Disability Insurance laws. Additionally, NJDOL enforces the New

    Jersey Public Employees Occupational Safety and Health Act as an Occupational Safety and

    Health Administration State Plan.

 4. As part of the yearly budget process, the New Jersey Legislature appropriates expected and

    anticipated federal funding to individual agencies. The expected and anticipated federal

    funding amounts are calculated based on a number of factors, including, for example,

    whether the federal funding is based on a multi-year grant that guarantees specific amounts

    of annual funding, a federal funding formula that allows the State to predict its annual

    receipts, or some other funding mechanism.

 5. According to the Fiscal Year 2025 Appropriations Act, P.L. 2024, c. 22, the New Jersey

    Legislature appropriated a total of $603,161,000 in expected and anticipated federal funding

    to the NJDOL. These appropriations are allocated to various NJDOL programs and services,

    including but not limited to Unemployment Insurance, Disability Determinations, Vocation

    Rehabilitation Services, and Employment and Training Services.

 6. On January 28, 2025, an employee of NJDOL reached out to our federal counterparts at

    USDOL to discuss the impact of the OMB Memo as well as the fact that NJDOL staff were

    no longer able to access the federal Payment Management Services (“PMS”) system. PMS is
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    a shared service provider that processes grant payments for the federal government. PMS

    offers awarding agency and grant recipients with cash management services, centralized

    payment services, personal grant accounting support, and Financial Reporting Support. PMS

    promotes financial integrity and operational efficiencies within the federal government

    through accounting practices managed by the U.S. Department of Health and Human

    Services.

 7. The response was: “No new news. I understand that leadership in DC is meeting, and I hope

    additional information will be provided soon after.”

 8. The OMB Memo and subsequent cutting off access to PMS will have a profound and

    disabling impact on NJDOL. Our agency uses federal funding to provide critical resources

    for over 4.3 million New Jersey workers, including but not limited to workforce training as

    part of the Workforce Innovation and Opportunity Act, unemployment benefits, Jobs for

    Veterans programs, Senior Community Service Employment Programs, youth training

    programs, dislocated workers programs, Trade Adjustment Assistance programs, worker

    safety programs, economic and labor force data programs, and other programs that New

    Jersey residents rely upon. For example, there are currently over 120,000 workers collecting

    unemployment who would lose the vital financial support of the benefits they and their

    employers have already paid for, if there is no way to pay for the administration of those

    benefits.

 9. The freeze on federal disbursements directed by the OMB Memo will cause significant

    disruption to NJDOL operations. NJDOL must take extraordinary measures to address and

    mitigate the loss of funding and must devote substantial time and resources to planning for

    the severe operational impacts caused by the federal funding freeze.
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    I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

 Executed this 28th day of January 2025, in Trenton, New Jersey.




                                                     _______________________
                                                     Robert Asaro-Angelo
                                                     Commissioner
                                                     New Jersey Department of Labor and
                                                     Workforce Development
